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                               UNITED STATE DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, ET AL.                                       CIVIL ACTION NO. 12-859

 VERSUS                                                      SECTION I, DIVISION 5

 MARLIN GUSMAN, ET AL.                                       JUDGE LANCE M. AFRICK
                                                             MAGISTRATE JUDGE NORTH


                   MEMORANDUM IN SUPPORT OF MOTION FOR STAY

         Pursuant to Rule 62 of the Federal Rules of Civil Procedure, Third-Party Defendant, the City

of New Orleans (the “City”), respectfully moves for an order staying this Court’s January 25, 2021

Order & Reasons (the “Order”),1 denying the City’s Motion for Relief from Court Orders of January

25, 2019 (Rec. Doc. 1221) and March 18, 2019 (Rec. Doc. 1227) regarding Phase III Jail Facility (the

“Motion for Relief”).2 Because the City is likely to succeed on the merits of its appeal and will be

irreparably injured absent a stay, which will not substantially injure the other parties to this proceeding,

and because the public’s interest is best served by first resolving the merits of the City’s appeal, the

City respectfully submits this Court should stay the execution of its Order, pending the resolution of

the City’s appeal thereof.3

    I.       BACKGROUND

         The Court is familiar with the facts of this case. On June 6, 2013, the Court approved a

Consent Judgment (the “Consent Judgment”) requiring Sheriff Marlin Gusman to implement

systemic and durable reforms remedying the pervasive and longstanding problems at the Orleans




    1
      Rec. Doc. 1396.
    2
      Rec. Doc. 1281.
    3
      Rec. Doc. 1399.
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Parish Prison (“OPP”).4 Although not a signatory to the Consent Judgment, the City is a party to

this litigation and is thereby bound by the Court’s directives. One element of the Consent

Judgment requires the Orleans Parish Sheriff’s Office (the “OPSO”) and Sheriff Gusman to

provide inmates with acute and subacute medical needs with constitutionally adequate care. 5 To

that end, in August 2014, the Court approved the use of Elayn Hunt Correctional Center (“Hunt”)

as a short-term housing solution for these inmates.6

         In January 2019, the Court was made aware of the fact that, effective October 15, 2019, Hunt

would no longer house Orleans Justice Center (“OJC”) inmates with significant mental health

issues.7 Accordingly, on January 25, 2019, the Court ordered the City to “begin the programming

phase of the Phase III facility as soon as possible.”8 On March 18, 2019, the Court ordered the City

to “continue the programming of Phase III,” and to “work collaboratively to design and build a

facility that provides for the constitutional treatment of the special populations . . . without undue

delay, expense or waste.”9




    4
       Rec. Doc. 466. OPP has since been replaced with a newly built facility, the Orleans Justice Center (“OJC”).
    5
       See Rec. Doc. 466 at 24.
     6
       See, e.g., Rec. Docs. 722, 1221. Thereafter, on September 21, 2015, Sheriff Gusman filed a motion with the
Court, moving for a declaratory judgment requiring the City to build the Phase III facility and to hold the City in
contempt for its failure to do so previously. On November 24, 2015, this Court denied the Sheriff’s motion in all
respects. Rec. Doc. 948; see also Jones v. Gusman, No. 12-859, 2015 WL 7458605, at *3 (E.D. La. Nov. 24, 2015).
     7
       Rec. Doc. 1221.
     8
       Id. The Court further ordered the City to submit a proposal regarding a new short-term solution to housing
prisoners previously at Hunt, which the City timely submitted on February 25, 2019. See Rec. Doc. 1227. On March
18, 2019, the Court ordered the City to “immediately initiate the planning, design, procurement, and renovation of the
temporary accommodations described in its Short-Term Plan,” namely renovations to the already-existing Temporary
Detention Center, which was constructed as a stopgap measure following Hurricane Katrina. Rec. Doc. 1227. The
Short-Term Plan has since been completed; however, the Temporary Detention Center has not been fully utilized,
apparently due to the lack of OPSO staff.
     9
       Rec. Doc. 1227.
                                                              2

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         On March 23, 2020, Louisiana Governor John Bel Edwards issued a state-wide stay-at-

home order in light of the COVID-19 pandemic.10 As a result of the pandemic, among other

extraordinary factors, on June 29, 2020, the City filed a Motion for Relief, praying that the Court,

“indefinitely suspend[] the programming, design, and construction of a new Phase III jail

facility.”11 In support of its Motion for Relief, and consistent with Federal Rule of Civil Procedure

60, the City presented the following compelling reasons warranting relief: (1) the newly-

constructed OJC facility currently provides medical and mental healthcare that is at or above the

minimal constitutional standard, according to both the OPSO and expert witnesses in healthcare;

(2) the COVID-19 pandemic has caused an unforeseen and sizeable budgetary shortfall, the effects

of which the City and its residents must bear for years to come; (3) the decline in prison population

has rendered the programming, design, and construction of a new Phase III jail facility

unnecessary;12 and (4) Congress, in enacting the Prison Litigation Reform Act (the “PLRA”),

limited the Court’s ability to grant the prospective relief recited in its January 25, 2019 and March

18, 2019 orders; namely, the construction of a new jail and the inordinate burden such construction

would place upon the City’s taxpayers for the benefit of approximately sixty-five inmates.13

Significant motion practice followed,14 culminating in a hearing before Magistrate Judge North,15

along with additional post-hearing briefing.16




    10
          See Proclamation No. 33 JBE 2020, Additional Measures for COVID-19 Stay at Home,
https://gov.louisiana.gov/order.
     11
        Rec. Doc. 1281-1 at 1.
     12
        Id.
     13
        Rec. Doc. 1312.
     14
        See, e.g., Rec. Docs. 1301, 1304, 1305, 1312, 1327, 1328, 1329.
     15
        See Rec. Docs. 1287 (referring the Motion for Relief to Magistrate Judge Michael North for hearing); 1350–
54, 1357–59 (Minute Entries for 10/6–9/2020, 10/13–15/2020, 10/19/2020 Proceedings).
     16
        See Rec. Docs. 1360–64.
                                                            3

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          On December 7, 2020, Magistrate Judge North issued his Report & Recommendation

(“R&R”), recommending that this Court deny the City’s Motion for Relief.17 On December 21,

2020, the City filed its objections to the Magistrate Judge’s R&R.18 Three replies thereto were

filed.19 On January 25, 2021, this Court adopted Judge North’s R&R as its own, denying the City’s

Motion for Relief.20 The City filed a timely notice of appeal on February 2, 2021.21 The City now

moves this Court to stay the execution of its Order, along with its prior orders directing the City to

“begin the programming phase of the Phase III facility”22 “without undue delay, expense or

waste,”23 pending the outcome of appellate review.24

    II.       LAW & ARGUMENT

          The filing of a notice of appeal does not automatically stay the enforcement of the judgment

being appealed.25 Rather, after a federal district court enters a judgment, Rule 8(a)(1)(A) of the

Federal Rules of Appellate Procedure requires the appealing party to first move the district court

to stay the enforcement of its order pending appeal. Only after such a motion is denied may the

appealing party seek a stay from the Fifth Circuit.26

          In this circuit, courts undergo a four-part test in determining whether it should stay relief

pending appeal: “‘(1) whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)




    17
        Rec. Doc. 1385.
    18
        Rec. Doc. 1389.
     19
        Rec. Docs.1392–94.
     20
        Rec. Doc. 1396.
     21
        Rec. Doc. 1399.
     22
        Rec. Doc. 1221.
     23
        Rec. Doc. 1227.
     24
        Rec. Doc. 1399.
     25
        See Fed. R. Civ. P. 62(c) (“Unless the court orders otherwise, . . . an interlocutory or final judgment in an action
for an injunction . . . [is] not stayed after being entered, even if an appeal is taken.”).
     26
        See Fed. R. Civ. P. 8(a)(1)(2).
                                                                  4

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whether issuance of the stay will substantially injure the other parties interested in the proceeding;

and (4) where the public interest lies.’”27 “The first two factors are the most critical.”28 All four

factors are met in this case, thereby warranting a stay of the execution of this Court’s orders, as

well as the underlying orders from which the City seeks relief.

        A. The City Has a Strong Likelihood of Success on the Merits

        The City respectfully submits that it has a strong likelihood of success on the merits of its

appeal, in light of the U.S. Supreme Court’s holdings in Rufo v. Inmates of Suffolk County and

Horne v. Flores,29 and because the PLRA restricts a court’s ability to order the construction of any

new facility, particularly when an order to build a new jail affects both public safety and the

criminal justice system, while also foisting a heavy burden on the already strained shoulders of the

City’s taxpayers.

                 a. Under the “flexible” approach established by the U.S. Supreme Court in Rufo,
                    this Court should have granted the City’s Rule 60 Motion based on the
                    significant changes in circumstances this case presents

        In its Motion for Relief, the City argued that applying the Court’s orders to build the Phase

III facility prospectively were both statutorily impermissible and no longer equitable, 30 requiring

the Court to employ a “flexible approach” in determining whether and to what extent its

previously-issued orders should be modified. Under the flexible standard articulated in Rufo, a

party seeking modification of an institutional reform consent decree bears the burden of

establishing that a significant change in facts or law warrants revision of the decree and that the




     27
        Hilton v. Braunskill, 481 U.S. 770, 776 (1987); see also Nken v. Holder, 556 U.S. 418, 426 (2009); Moore v.
Tangipahoa Parish Sch. Bd., No. 12-31218, 2013 WL 141791, at *2 (5th Cir. Jan. 14, 2013) (quoting Hilton, 481 U.S.
at 776); United States v. Baylor Univ. Med. Ctr., 711 F.2d 38, 39 (5th Cir. 1983).
     28
        Valentine v. Collier, 956 F.3d 797, 801 (5th Cir. 2020).
     29
        502 U.S. 367 (1992); 557 U.S. 433 (2009).
     30
        See Fed. R. Civ. P. 60(b)(5).
                                                             5

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proposed modification is suitably tailored to the changed circumstances. In this case, the City has

met this burden.

          The City respectfully submits the record demonstrates significant changes in circumstances

requiring the modification of the Court’s prior orders directing the City to build the Phase III

facility. Namely, the City submits that, on appeal, it will demonstrate that: (1) the OJC currently

provides medical and mental healthcare that is at or above the minimal constitutional standard; (2)

the COVID-19 pandemic has caused an unforeseen fiscal and social impact upon the City with

seemingly no end in sight; and (3) the marked decline in both the general prison population, and

the inmates with acute and subacute mental health needs in particular, has rendered the

programming, design, and construction of a new Phase III jail facility unnecessary and unjustified,

particularly in light of the OPSO’s apparent inability to retain an adequate number of correctional

officers for OJC, much less having the ability to hire and retain more than 100 additional

correctional officers for the proposed Phase III facility.

          During the hearing on the City’s Motion for Relief, among other evidence, the City offered

testimony from multiple medical doctors and healthcare providers who testified that the sixty-five

inmates with acute and subacute mental health needs housed in the OJC are presently being

provided with constitutionally adequate health care.          The City also presented evidence

demonstrating that the jail population is now below 1,000 inmates. That number has decreased

and is projected to only continue to decline once the Criminal District Court can fully resume its

judicial functions and the Department of Corrections inmates can be transferred, as has occurred

in the past.31 The fact that the jail population is now below 1,000 inmates and that the inmates




   31
        See Rec. Doc. 916.
                                                      6

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with acute and subacute mental health needs are now receiving constitutionally adequate care

unquestionably constitutes a significant change in circumstances sufficient for modification of this

Court’s prior orders pursuant to Rule 60. These changed circumstances, which could not be

presaged, are only augmented by the overwhelming public safety, housing, and fundamental care

issues resulting from the pandemic and further undermine any basis for the construction of the

Phase III facility, particularly when a more narrow and less intrusive alternative that completely

addresses the healthcare needs of inmates with acute and sub-acute mental health issues is

available.32

         The City’s proposed modification is also suitably tailored to these changed circumstances

that simply cannot be overlooked. Pursuant to the above-mentioned factors, the City requested

that it be permitted to retrofit the second floor of OJC instead of building the Phase III facility, for

which the City had not (and has not) obtained approval, as the City’s Home Rule Charter requires,

given that a retrofit is less intrusive, would enhance healthcare for acute inmates in one-third of

the time it would take to construct a new jail, and the retrofit alternative does not require a zoning

variance that must be evaluated by the City Planning Commission and approved by the City

Council. To that end, Dr. James Austin, an expert in conducting justice and corrections research

at the JFA Institute, and Mr. Allen Patrick, an experienced correctional facilities architect, worked

for several years on the proposed retrofit. As their testimony confirms, Dr. Austin and Mr. Patrick

established three alternatives to the Phase III facility. In refining the City’s alternatives to Phase

III during the several months before the hearing, Dr. Austin and Mr. Patrick concluded that the




    32
       Moreover, in addition to the over 50 million dollars construction of the Phase III facility is projected to cost, if
Phase III is constructed, it will require between eight to nine million dollars per year for the indefinite future. Thus,
assuming the building has a 30-year lifespan, its operation would require the City to pay at least $270,000,000.00 from
limited and greatly reduced taxpayer funds.
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retrofit was the most efficient, most timely, and best suited alternative to Phase III.33 Thus, under

the flexible approach Rufo requires, the City presented a viable alternative that would both meet

the needs of the City’s inmates with acute and subacute mental health needs, while also

acknowledging the significant change in circumstances resulting from years of work towards

complying with the Consent Judgement.

         Despite these three significant changes in circumstances, and the evidence presented at the

hearing before Magistrate Judge North demonstrating that a retrofit of the existing, newly-

constructed facility is the least intrusive and most narrow approach to addressing the needs of the

City’s inmates with acute and subacute mental health issues and would do so at a considerably

lower cost to the taxpayers, this Court instead rejected each of the City’s well-founded objections

to proceeding with the construction of the Phase III facility.

                  b. The PLRA restricts this Court’s ability to order the construction of a new jail
                     facility

         In addition to the significant changes in circumstances, as detailed above, which render the

construction of the Phase III facility unnecessary, the PLRA prohibits a court from ordering the

construction of a new facility.34              Importantly, the Fifth Circuit reviews a district court's




    33
        Rec. Doc. 1385 at 58.
    34
        18 U.S.C. § 3626(a)(1)(C) (“Nothing in this section shall be construed to authorize the courts, in exercising
their remedial powers, to order the construction of prisons.”); compare Rec. Doc. 1221 at 3 (“IT IS FURTHER
ORDERED that the City shall direct the architect chosen to design the permanent facility described in the
Supplemental Compliance Action Plan, filed into the record on January 4, 2017 (the “Phase III facility”), to begin the
programming phase of the Phase III facility as soon as possible and to update the Court on the progress of those efforts
at the next scheduled status conference.” (emphasis added), with Rec. Doc. 1227 at 2–3 (“IT IS FURTHER ORDERED
that the parties are to work collaboratively to design and build a facility that provides for the constitutional treatment
of the special populations discussed herein without undue delay, expense or waste.”) (emphasis added), with Ruiz v.
Estelle, 161 F.3d 814, 822, 824–25 (5th Cir. 1998), abrogated on other grounds by Town of Chester v. Laroe Estates,
Inc., 137 S. Ct. 1645 (2017) (noting that the order issuing the consent decree was styled as an “Order Approving
Proposed Judgment,” and concluding that, as such, its contents may not order what the PLRA specifically prohibits
(emphasis added)).
                                                                8

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interpretation of the PLRA de novo.35 The City acknowledges the Court’s belief that the City’s

arguments regarding the PLRA have been waived. However, a district court may consider

arguments and evidence raised for the first time in a reply brief without abusing its discretion “so

long as it gives ‘the non-movant an adequate opportunity to respond prior to a ruling.’”36 Thus,

when “there exists no palpable injustice if the opposing party is given a chance to respond, as

would be the situation if [a court were to grant the opposing party] leave to file [a] surreply” the

issue is properly before the court for consideration.37

         In this case, the City raised the issue of whether the PLRA restricts the Court’s authority to

order the construction of a new jail as early as 2013.38 And, with respect to the City’s Motion for

Relief, the PLRA issue was raised before the Magistrate Judge,39 who ultimately permitted all four

non-moving parties to address the application of the PLRA in sur-replies,40 which were filed prior




    35
        Ruiz, 161 F.3d at 819 (“We review the district court’s interpretation of the PLRA de novo.” (citing Spacek v.
Maritime Assn., 134 F.3d 283, 288 (5th Cir. 1998))).
     36
        Thompson v. Dall. City Att’ys Office, 913 F.3d 464, 471 (5th Cir. 2019) (quoting Vais Arms, Inc. v. Vais, 383
F.3d 287, 292 (5th Cir. 2004)).
     37
         Blanchard & Co., Inc. v. Heritage Cap. Corp., No. 97-690, 1997 WL 757909, at *1 (N.D. Tex. Dec. 1, 1997);
Scott v. R.J. Reynolds Tobacco Co, No. 99-3091, 2001 WL 797992, at *6 (E.D. La. July 12, 2001) (considering an
argument raised for the first time in reply); see also Murillo v. Coryell Cnty. Tradesmen, LLC, No. 15-3641, 2017 WL
1155166, at *3–4 (E.D. La. Mar. 28, 2017) (considering argument raised for the first time in moving party’s reply, despite
non-moving party not filing a sur-reply, because non-moving party had had the opportunity to respond, but did not).
Indeed, this Court (and the Magistrate Judge) did briefly address the PLRA issue, notwithstanding both courts’ finding
of waiver.
     38
         Jones v. Gusman, 296 F.R.D. 416, 458–49 (E.D. La. 2013) (approving the consent judgment) (“The City’s
proposed finding of law that ‘[t]he Court may not approve a proposed consent decree that results in the raising of taxes’
is disingenuous. The City cites 18 U.S.C. § 3626(a)(1)(C), but that statute provides: ‘Nothing in this section shall be
construed to authorize the courts, in exercising their remedial powers, to order the construction of prisons or the raising
of taxes.’ The Court has no intention of ordering the City, the Sheriff, or any other political entity, for that matter, to
raise taxes or to construct yet another facility. To the extent our elected political leaders intend to house inmates at OPP
facilities, however, these facilities must meet constitutional and statutory minimum requirements.” (emphasis added));
Rec. Doc. 930, at 4 (“[T]he Prison Litigation Reform Act (‘PLRA’) places barriers on the Court’s authority to enter any
such order. The PLRA imposes a number of restrictions on the prospective relief a court can order in any civil action
involving ‘prison conditions.’ All relief must be narrowly drawn, extend no further than necessary, and be the least
intrusive means necessary to correct a violation of federal rights.” (internal citations omitted)).
     39
        See Rec. Doc. 1312 (noting the PLRA had been raised throughout this litigation).
     40
        Rec. Doc. 1332.
                                                                 9

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to the hearing of the City’s Motion for Relief.41 Thus, not only were all non-moving parties given

the opportunity to respond to the argument, thereby alleviating any arguable prejudice to them, the

parties were again given the opportunity to fully brief the issue to this Court.42 Finally, refusing to

consider whether the PLRA curbs the Court’s ability to order the construction of the Phase III facility

would result in a manifest injustice to the City and the citizens to whom it is responsible.43

Accordingly, because a manifest injustice will result should the Court refuse to consider the issue

and because the non-moving parties would not have been unduly prejudiced by the Court’s

consideration thereof, the City respectfully submits the issue was properly before the Court, which

should have exercised its discretion to proceed to the merits of the City’s PLRA defense.

        And the PLRA does indeed restrict the Court from ordering the construction of the Phase III

facility in this case. Even assuming the City “agreed” to build the Phase III facility, which is denied,

the Fifth Circuit squarely addressed the issue of whether a court may enforce an agreement when the

object of that agreement is unlawful under the PLRA in Ruiz v. Estelle, holding that “the PLRA does

expressly restrict the prospective relief which may be afforded by a consent decree to the same extent

and in the same manner as it restricts the prospective relief which may be afforded by a judgment

entered pursuant to adversarial litigation without agreement.”44 “[T]he PLRA does expressly reflect

Congress' concern to limit judicial enforcement of obligations that arise out of the agreement of the

parties embodied in a consent decree.”45 The PLRA also authorizes the preclusion and termination

of existing prospective relief that does not comply with [the PLRA’s directive that]” “any




   41
      Rec. Docs. 1350–54, 1357–59 (Minute Entries for 10/6–9/2020, 10/13–15/2020, 10/19/2020 Proceedings).
   42
      Rec. Docs.1392–94.
   43
      Dean v. Chrysler Corp., 38 F.3d 568, at *3 (5th Cir. 1994).
   44
      Ruiz, 161 F.3d at 824–25 (emphasis in original).
   45
      Id.
                                                        10

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prospective relief [be] . . . ‘narrowly drawn, extend[] no further than necessary to correct the violation

of the Federal right, and is the least restrictive means necessary.’”46 In this case, building the Phase

III facility undoubtedly extends further than necessary to correct the violation of the Federal right,

and plainly is not the least restrictive means to address the needs of the inmates at issue here. Thus,

as a matter of law, the PLRA prevents a court from compelling the construction of a new facility,

even assuming the construction thereof was previously agreed to.47

         In this case, the record shows a significant change in circumstances. And, when analyzed

pursuant to the “flexible approach” articulated in Rufo, these significant changes in circumstances

warrant the modification of this Court’s January 25 201948 and March 18, 201949 Orders directing

the City to construct the Phase III facility. Moreover, in addition to these significant changes in

circumstances, the PLRA prohibits a court from ordering a governmental entity, such as the City, to

build a new facility, even if that order was entered pursuant to a consent judgment or some other

perceived acquiescence.50 As a result, the City has a substantial likelihood of succeeding on appeal,

and the first prong of the analysis is met.




    46
        Id. at 817 (quoting 18 U.S.C. § 3626(a)(1) and § 3626(b)(2)); see also Brown v. Plata, 563 U.S. 493, 564 (2011)
(affirming a prisoner release order) (Scalia, J., dissenting) (“The PLRA is . . . best understood as an attempt to constrain
the discretion of courts issuing structural injunctions—not as a mandate for their use. . . . [S]tructural injunctions . . .
raise grave separation-of-powers concerns and veer significantly from the historical role and institutional capability
of courts. It is appropriate to construe the PLRA so as to constrain courts from entering injunctive relief that would
exceed that role and capability.”); Plyler v. Moore, 100 F.3d 365, 369 (4th Cir. 1996) (“The PLRA also provides an
avenue for states to end their obligations under consent decrees providing for greater prospective relief than that
required by federal law.”).
     47
        Moreover, although the R&R recognizes the May 18, 2017, City Council meeting at which a vote among the
City Council members resulted in the potential for a Phase III Plan to be submitted to the City Planning Commission
for consideration of a conditional use permit, there is no mention in the R&R or the Court’s adaptation thereof that
the conditional use permit was in fact never issued, nor did the Civil Planning Commission ever issue a
recommendation as to zoning for Phase III. Thus, compelling the City to construct the Phase III facility also violates
the City’s Home Rule Charter, which requires a zoning variance prior to moving forward with such construction.
     48
        Rec. Doc. 1221.
     49
        Rec. Doc. 1227.
     50
        Ruiz, 161 F.3d 824–25.
                                                                 11

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         B. The City Will be Irreparably Injured Absent a Stay

         The second factor is also met here. In this case, the Court’s order, if enforced, will have

serious and irreparable consequences for the City. The Fifth Circuit has defined irreparable harm

to mean “harm for which there is no adequate remedy at law.”51 In this case, should the City be

required to comply with this Court’s orders to continue with the programming, design, and

construction of the Phase III facility and those orders are reversed by the Fifth Circuit, the City

will be irreparably injured and unable to recoup the considerable time and expense necessary to

comply with those orders.

         The Fifth Circuit has already addressed the propriety of granting a stay pending the appeal

of a district court’s order requiring the remodeling of a jail’s facilities. Specifically, in Ruiz v.

Estelle,52 the Fifth Circuit held that requiring a governmental entity to: “go through the effort and

expense of furnishing the district court with a plan for [establishing] community correction

facilities,”53 and submit plans providing for “the architectural modification and retrofitting of

existing units”54 would cause the State irreparable harm if enforced.55 As a result, the Fifth Circuit

granted the State’s motion to stay, pending the outcome of its appeal of the district court’s

injunction, which required significant structural and managerial changes to the State’s prison




    51
        Monumental Task Committee, Inc. v. Foxx, 157 F. Supp. 3d 573, 582 (E.D. La. 2016) (citing Univ. of Tex. v.
Camenisch, 451 U.S. 390, 395 (1981)).
     52
         Ruiz v. Estelle, 650 F.2d 555, 559 (5th Cir. 1981) (noting that, “Construction of future prison units and
modification of present units are required by the [district] court’s order”).
     53
        Id. at 573.
     54
        Id.
     55
        Id.; see also id. at 573–74 (“Insofar as the injunction requires [the State] to construct units that house no more
than 500 inmates or that may be divided into sub-units housing no more than 500 inmates, we stay that part of the
order for reasons similar to those set forth above. . . . Irreparable injury will be sustained by [the State] because, absent
a stay, it will be required either to suspend all new construction or to construct only units that comply with the size
limitations mandated by the injunction.”).
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system.56 The same logic applies here. In the absence of a stay, the City will be compelled to

expend considerable taxpayer funds and community resources complying with the Court’s orders,

including planning and constructing a multi-million-dollar facility for which it has not received

approval. Indeed, this Court’s orders to build a new facility go even further than the district court’s

order in Ruiz, in that the court in Ruiz ordered the state to simply remodel an existing building.

Here, this Court’s orders require the City to construct an entire new facility, in addition to the new

OJC facility already built at considerable expense. As a result, the second prong of this Court’s

analysis is also met.

         C. Other Interested Parties Will Not be Substantially Injured If a Stay Issues

         When considering whether the interested parties will be substantially injured if a stay

issues, the court’s “decision is limited to determining irreparable harm not in denying the plaintiffs’

requested relief outright but in temporarily staying the injunction pending a full appeal.”57 In this

case, the undisputed evidence demonstrates that funding for the OPSO, including the City’s

investment in medical and mental health services, is amongst the very best in the Country for

comparable jail facilities. Indeed, in the past several years, the City has increased the OPSO’s

budget by more than 140%, even though the jail population has decreased by more than 1,200

inmates during this same time period.58 Moreover, a nationally recognized corrections health care

provider is currently providing medical and mental health services to the special-needs inmates at




    56
        See id. at 573. Ruiz was issued prior to the establishment of the PLRA. Nevertheless, in Ruiz, in granting the
State’s motion to stay, the Fifth Circuit explained, “Although a district court’s remedial authority to correct
unconstitutional conditions in prisons is broad, we do not believe that the court had the power to alter the managerial
structure and size of existing TDC units . . . . The size and managerial organization of a state prison system would
appear to be matters that are best left to a state’s legislature and to those charged with the responsibility for running
the prison system.” Id. at 573 (internal citations omitted) (emphasis added).
     57
        Tex. Democratic Party v. Abbott, 961 F.3d 389, 412 (5th Cir. 2020).
     58
        See Rec. Doc. 1281 at 16.
                                                               13

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a cost of millions of dollars each year. Importantly, inmates with acute and sub-acute mental health

needs continue to be treated at University Medical Center, as needed, as no inmate is turned away

or denied treatment, which supplements daily the top-quality treatment provided by an array of

Tulane psychiatrists and physicians. This arrangement has been in place for years and will be

maintained pending appeal.

        The existing high-level of healthcare for the sixty-five acute and sub-acute inmates who

would be housed in the Phase III facility (should this Court’s orders to construct a new jail complex

be affirmed on appeal) was confirmed in testimony from both Wellpath’s Dr. Carin Kottraba and

Tulane University Hospital’s preeminent psychiatrist, Dr. Jeffrey Rouse.59 Given the high level

of care the inmates with acute and subacute mental health needs are presently receiving, without

the need of the Phase III facility, inmates with acute and subacute mental health needs will not be

substantially injured if a stay issues, and the third prong of the Court’s analysis is also met.

        D. The Public Interest Lies in Favor of Granting a Stay

        Finally, the public’s interest falls squarely in favor of first determining whether the PLRA

renders this Court’s prior orders directing the City to build the Phase III facility unenforceable

before the City devotes unrecoverable time, funds, and resources towards its planning and

construction.      Importantly, “Because the State is the appealing party, its interest and

[aforementioned] harm merge with that of the public.”60 And, like the issue presented to the Fifth

Circuit in Ruiz, “the public interest is best served in this case by maintaining the status quo . . .




     59
        See Testimony of Dr. Carin Kottraba, Transcript of the Motion for Relief, Vol. III, at pp. 52–5; Testimony of
Dr. Jeffery Rouse, Transcript of the Motion for Relief, Vol. III, at pp. 140–56. It is also noteworthy that the OPSO
seemingly agrees that the OJC provides medical and mental healthcare that are above the minimal constitutional
standards, as made clear by the OPSO’s Motion to terminate the compliance director and the Consent Judgment. See
Rec. Docs. 1274 (Motion to Terminate), 1311 (Order Granting Motion to Terminate).
     60
        Veasey v. Abbott, 870 F.3d 387, 391 (5th Cir. 2017) (per curiam).
                                                             14

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until the merits are decided on appeal,” because “[i]f the State prevails on appeal, the public is best

served by not placing on the State the personnel and monetary burdens of implementing” the

Court’s orders directing the City to construct the multi-million dollar Phase III facility.61

    III.       CONCLUSION

           The City seeks a stay to resolve whether the district court erred in its application of Rule

60(b) to the City’s Motion for Relief, in light of the United States Supreme Court’s directive that

courts employ a “flexible approach” when addressing compliance with Consent Judgments in

Institutional Reform Litigation,62 and the PLRA’s express prohibition on ordering the construction

of new facilities. Based on the foregoing, the City respectfully submits it is likely to succeed on

the merits of its appeal. The City further submits it will be irreparably injured absent a stay, and

that a stay will not substantially injure the other parties to this proceeding. Finally, the City avers

the public’s interest is best served by first determining conclusively whether this Court may require

the construction of the Phase III jail facility before expending further taxpayer dollars on the

programming, design, and construction thereof.63 Consequently, a stay until the conclusion of any

appeals taken in this action will also “secure the just, speedy, and inexpensive determination” of

this action pursuant to Rule 1 of the Federal Rules of Civil Procedure. Accordingly, the City

requests that its Motion for Stay be granted.




     61
        Ruiz, 650 F.2d at 569; see also id. at 572 (“Finally, we conclude that the public interest is best served by leaving
the details of reducing overcrowding in TDC to Texas prison officials. It is sufficient that the district court has ordered
the overcrowding to be eliminated.”).
     62
        See Rufo, 502 U.S. at 367; Horne, 557 U.S. at 433.
     63
        Rec. Doc. 1281-1 at 1.
                                                                 15

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                                 CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing was filed on this 19th day of February, 2021,

with the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing

to all participating counsel of record.




                                                      /s/ Sunni J. LeBeouf


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